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                           UNITED STATES DISTzuCT COURT
                            NORTHERN DISTRICT OF TEXAS
                                LUBBOCK DIVISION

STATE OF TEXAS,

        Plaintiff,

                                                             No. 5:24-CV-204-H

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES, et
al.,

        Defendants

      ORDER GRANTING MOTION TO ENTER BRIEFING SCHEDULE
 AND HOLD DEADLINE TO FILE RESPONSE TO COMPLAINT IN ABEYANCE
       Before the Court is the parties' joint motion to enter a briefing schedule and hold the

defendants' deadline to fi.le a response to the complaint in abeyance. Dk. No. 14. The

Court grants the motion.

       The defendans will produce the administrative records for the two final rules at issue

in this matter on or before November 22,2024. The parties' dispositive motions will be due

on or before January 17,2025. The parties' respective opposition briefs will be due

February 14, 2025. The parties' reply briefs in support of their dispositive motions will be

due March 14,2025. It is further ordered that the defendants' deadline to respond to the

plaintiffs complaint is held in abeyance pending further order from this Court.

       So ordered on November     l8 , 2024.


                                           JAME     SLEY HENDRIX
                                           UN   D STATES DISTRICT JUDGE
